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                               EXHIBIT 307
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                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION
                                       - - -
           IN RE: NATIONAL             :
           PRESCRIPTION                :            MDL No. 2804
           OPIATE LITIGATION           :
           ___________________________ :            Case No.
                                       :            1:17-MD-2804
           THIS DOCUMENT RELATES       :
           TO ALL CASES                :            Hon. Dan A. Polster
                                       - - -
                        Wednesday, February 27, 2019
                HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                         CONFIDENTIALITY REVIEW

                                       - - -

                      Videotaped deposition of KIRK HARBAUER,

           held at the Hilton Garden Inn, Perrysburg, Ohio,

           commencing at 9:02 a.m., on the above date, before

           Carol A. Kirk, Registered Merit Reporter and Notary

           Public.


                                       - - -


                         GOLKOW LITIGATION SERVICES
                     877.370.3377 ph | 917.591.5672 fax
                              deps@golkow.com




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     1
     2
                 A P P E A R A N C E S:
         On behalf of the Plaintiffs:
                                                                         1     ALSO PRESENT:
     3       MCHUGH FULLER LAW GROUP                                     2      Michael Newell, Videographer
             BY: LANCE REINS, ESQUIRE
     4          lance@mchughfuller.com                                          Zachary Hone, Trial Technician
     5
                ALLAN (A.J.) L. ELKINS, ESQUIRE
                allan@mchughfuller.com
                                                                         3
                  (via teleconference)                                   4                   ---
     6       97 Elias Whiddon Road
             Hattiesburg, Mississippi 39402
                                                                         5
     7       601-261-2220                                                6
     8
         On behalf of AmerisourceBergen Corporation (via                 7
     9
    10
         teleconference and text/video streaming):
              JACKSON KELLY PLLC
                                                                         8
              BY: SANDRA K. ZERRUSEN, ESQUIRE                            9
    11           skzerrusen@jacksonkelly.com
              50 South Main Street, Suite 201
                                                                        10
    12        Akron, Ohio 44308                                         11
              330-252-9060
    13                                                                  12
    14   On behalf of HBC (via teleconference and text/video
         streaming):
                                                                        13
    15                                                                  14
             MARCUS & SHAPIRA LLP
    16       BY: ELLY HELLER-TOIG, ESQUIRE
                                                                        15
                 ehtoig@marcus-shapira.com                              16
    17       One Oxford Center, 35th Floor
             301 Grant Street                                           17
    18       Pittsburgh, Pennsylvania 15219-6401
             412-338-3345
                                                                        18
    19                                                                  19
    20   On behalf of Walmart (via teleconference and
         text/video streaming):                                         20
    21                                                                  21
             JONES DAY
    22       BY: PATRICIA OCHMAN, ESQUIRE                               22
    23
                pochman@jonesday.com
             901 Lakeside Avenue East
                                                                        23
             Cleveland, Ohio 44114                                      24
    24       216-586-3939


                                                               Page 3                                          Page 5
     1   On behalf of Prescription Supply, Inc.                          1    VIDEOTAPED DEPOSITION OF KIRK HARBAUER
     2      FOX ROTHSCHILD LLP
            BY: JAMES C. CLARK, ESQUIRE                                  2        INDEX TO EXHIBITS
     3         jclark@foxrothschild.com
               STEPHAN A. CORNELL, ESQUIRE                               3   WITNESS                  PAGE
     4         scornell@foxrothschild.com                                4   KIRK HARBAUER
                  (via teleconference and text/video
     5            streaming)                                             5    CROSS-EXAMINATION BY MR. REINS       9
            2700 Kelly Road, Suite 300
     6      Warrington, Pennsylvania 18976-3624                          6
            215-345-7500
     7                                                                   7
     8   On behalf of Johnson & Johnson and                              8
         Janssen Pharmaceuticals:
     9                                                                   9
             TUCKER ELLIS LLP
    10       BY: JEFFREY M. WHITESELL, ESQUIRE                          10
                jeffrey.whitesell@tuckerellis.com
    11       950 Main Avenue, Suite 1100                                11
             Cleveland, Ohio 44113                                      12
    12       216-592-5000
    13                                                                  13
         On behalf of McKesson (via teleconference and
    14   text/video streaming):                                         14
    15        COVINGTON & BURLING LLP
              BY: MARY YANG, ESQUIRE                                    15
    16           myang@cov.com                                          16
              One CityCenter
    17        850 Tenth Street, NW                                      17
              Washington, DC 20001
    18        202-662-5110                                              18
    19
         On behalf of HBC:                                              19
    20                                                                  20
             MARCUS & SHAPIRA LLP
    21       BY: MOIRA CAIN-MANNIX, ESQUIRE                             21
                cain-mannix@marcus-shapira.com
    22       One Oxford Center, 35th Floor                              22
             301 Grant Street
    23       Pittsburgh, Pennsylvania 15219-6401
                                                                        23
             412-338-3345                                               24
    24



                                                                                             2 (Pages 2 to 5)
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                                                              Page 6                                              Page 8
     1
     2
            VIDEOTAPED DEPOSITION OF KIRK HARBAUER
                    INDEX TO INDEX
                                                                        1         Johnson & Johnson and Janssen.
     3    PSI - K. HARBAUER DESCRIPTION                  PAGE           2             THE COURT REPORTER: On the
     4    PSI - K. Harbauer 1 Letter to Ms. Massey from 24
                       Mr. Harbauer, dated March                        3         phone?
     5                 25, 1996, Bates-stamped
                       PSI-1012.5
                                                                        4             MS. OCHMAN: Patricia Ochman,
     6                                                                  5         Jones Day, for Walmart.
          PSI - K. Harbauer 2 Document titled       80
     7                 "Suspicious Order                                6             MS. ZERRUSEN: Sandy
                       Monitoring System, System                        7         Zerrusen, Jackson Kelly, for
     8                 Documentation,
                       Introduction and Table of                        8         AmerisourceBergen.
     9                 Contents," Bates-stamped
                       PSI-72519 through 72530                          9             MR. CORNELL: Stephan
    10                                                                 10         Cornell, Fox Rothschild, for
          PSI - K. Harbauer 3 Letter to Ms. Margreta   84
    11                 from Mr. Harbauer, dated                        11         Prescription Supply.
                       May 28, 1997, Bates-
    12                 stamped PSI-166566                              12             MS. YANG: Mary Yang with
    13    PSI - K. Harbauer 4 Suspicious Order       111               13         Covington on behalf of McKesson.
                       Monitoring Report,
    14                 Bates-stamped PSI-158967                        14             MR. ELKINS: A.J. Elkins,
                       through 159013
    15                                                                 15         McHugh Fuller Law Group, for the
          PSI - K. Harbauer 5 Document titled       126                16         Plaintiffs.
    16                 "Controlled Substances,"
                       Bates-stamped PSI-0000653                       17             THE VIDEOGRAPHER: The court
    17                 and 654
    18    PSI - K. Harbauer 6 Spreadsheet Bates-stamped 145            18         reporter today is Carol Kirk and
                       PSI-1011.1 and 2                                19         will now swear in the witness.
    19
          PSI - K. Haubauer 7 Prescription Supply    155               20                  ---
    20                Maximum Monthly Units for
                      OLS Systems, Bates-
                                                                       21               KIRK HARBAUER
    21                stamped PSI-0000274                              22   being by me first duly sworn, as hereinafter
                      through 297
    22                                                                 23   certified, deposes and says as follows:
    23
    24                                                                 24              CROSS-EXAMINATION

                                                              Page 7                                              Page 9
      1                      ---                                        1   BY MR. REINS:
      2                PROCEEDINGS                                      2         Q. Good morning.
      3                      ---                                        3         A. Good morning.
      4                 THE VIDEOGRAPHER: We are now                    4         Q. Can you please introduce yourself.
      5             on the record. My name is Michael                   5         A. Yeah. My name is Kirk Harbauer.
      6             Newell. I'm the videographer for                    6         Q. And, Mr. Harbauer, have you been
      7             Golkow Litigation Services.                         7   through a deposition before?
      8             Today's date is February 27th,                      8         A. Never have.
      9             2019, and the time is 9:02 a.m.                     9         Q. Okay. I'm sure your counsel has
     10             This video deposition is being held                10   probably advised you, but I'll just go over a
     11             in Perrysburg, Ohio in the matter                  11   few basic ground rules for today's deposition,
     12             of National Prescription Opiate                    12   okay?
     13             Litigation for the Northern                        13         A. Okay.
     14             District of Ohio, Eastern Division.                14         Q. All right. Clearly I'm going to
     15             The deponent today is Kirk                         15   be asking you some questions here today.
     16             Harbauer.                                          16   Because we have a court reporter taking down
     17                 Will counsel please identify                   17   everything we say, I'm going to need you to
     18             themselves.                                        18   please verbalize all of your answers. No
     19                 MR. REINS: Lance Reins for                     19   "huh-uhs," "uh-huhs" or head nods because those
     20             the Plaintiff.                                     20   can't be taken down, okay?
     21                 MR. CLARK: Jim Clark of Fox                    21         A. Very good. I'll do the best I
     22             Rothschild for Prescription Supply.                22   can.
     23                 MR. WHITESELL: Jeff                            23         Q. Absolutely.
     24             Whitesell from Tucker Ellis for                    24         A. That's all I can do. I've never


                                                                                           3 (Pages 6 to 9)
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      1   given a deposition, so ...                         1         A. No, I have not. This is --
      2         Q. If you hear me say something like,        2   this -- I've worked there for over 40 years.
      3   "Is that a yes," "Is that a no," that's kind of    3         Q. What does Prescription Supply,
      4   a clue to you that you might have nodded your      4   Inc. do?
      5   head, okay?                                        5         A. We supply pharmaceuticals to
      6         A. Okay.                                     6   independent drugstores and some -- a little
      7         Q. All right. For the very same              7   hospital business.
      8   reasons, if you could please let me finish my      8         Q. And you said you began there
      9   question before you begin your answer. If we       9   40 years ago; is that right?
     10   talk over one another, it makes it very           10         A. That's correct.
     11   difficult for her to do her job, okay?            11         Q. What was your first position?
     12         A. Okay.                                    12         A. Well, I worked in receiving.
     13         Q. All right. And, lastly, if you           13         Q. And what does that mean?
     14   answer my question, I'm going to assume you       14         A. Just receiving product in the back
     15   understood it and you're telling the truth; is    15   door through the warehouse, unloading trucks,
     16   that fair?                                        16   putting away stock. It's a family organization,
     17         A. Yes.                                     17   so I pretty well have worked almost -- a lot --
     18         Q. All right. Now, if you don't             18   a lot of the jobs all the way through the
     19   understand my question, let me know and I'll      19   operation.
     20   rephrase it. Or if you don't know something,      20         Q. And the president is Mr. Thomas
     21   you can simply let me know, okay?                 21   Schoen; is that right?
     22         A. Okay.                                    22         A. Correct.
     23         Q. Any questions before we get              23         Q. And what's your relationship with
     24   started?                                          24   him?

                                              Page 11                                                Page 13
      1         A. No. I'm ready to go.                      1         A. He is my uncle.
      2         Q. All right. Your counsel probably          2         Q. And is your mother also involved
      3   advised you as well, this is not meant to be       3   in the company?
      4   a -- some form of torture, so if you've got to     4         A. Yes, she is.
      5   use the restroom or you need a drink or            5         Q. What's her position?
      6   something, you just let us know, okay?             6         A. She's the secretary/treasurer.
      7         A. Okay. Very good.                          7         Q. And what's her name?
      8         Q. All right. Sir, are you currently         8         A. Jacquelyn Harbauer.
      9   employed?                                          9         Q. And you have a sister that's works
     10         A. Yes, I am.                               10   for the company?
     11         Q. And who do you work for?                 11         A. Yes.
     12         A. Prescription Supply.                     12         Q. Who's that?
     13         Q. And what do you do for                   13         A. Candace Harbauer.
     14   Prescription Supply?                              14         Q. And what does she do?
     15         A. I'm the vice president of                15         A. She is the point DR -- or she's
     16   information systems. I wear a lot of hats, but    16   the -- she has a lot of regulatory stuff. I
     17   that's the main thing I do.                       17   don't know what her exact title is, though.
     18         Q. How long have you held that              18         Q. Do you know what her duties and
     19   position?                                         19   responsibilities as "regulatory stuff" means?
     20         A. Over 20 years.                           20             MR. CLARK: Objection to
     21         Q. Have you had the same position the       21         form.
     22   entire time?                                      22         A. Yes, I do.
     23             MR. CLARK: Objection to                 23         Q. Tell me, if you don't mind.
     24         form.                                       24         A. Basically going through anything


                                                                            4 (Pages 10 to 13)
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      1   that the company needs to do legalize --           1
      2   legal-wise. Helps us go through all kinds of       2
      3   audits and regulatory -- any kind of regulatory    3
      4   affairs.                                           4
      5         Q. And I believe you have several            5
      6   cousins that work in the business?                 6
      7         A. Yes, I do.                                7
      8         Q. And who would that be?                    8
      9         A. All of my cousins?                        9
     10         Q. How many do you have working for         10
     11   the company?                                      11
     12         A. Well, there's probably five of us,       12
     13   I think, or six of them.                          13
     14         Q. Okay. And who are they and what          14
     15   do they do?                                       15
     16             MR. CLARK: Objection to                 16
     17         form.                                       17
     18         A. Well, Wendy Schoen, which is Tom's       18
     19   daughter. Chris Schoen. Rob -- Chris Schoen is    19
     20   a sales manager.                                  20
     21         Q. What does Wendy do?                      21
     22         A. Warehouse employee. Rob Schoen,          22
     23   he's the warehouse manager. Jim Schoen is the     23
     24   controlled substance manager. And I think         24


                                              Page 15
      1   that's it.                                         1
      2         Q. Okay. Obviously you've worn a lot         2
      3   of different hats over the years.                  3
      4         A. That's correct.                           4
      5         Q. I don't want to --                        5
      6              MR. CLARK: Let him finish               6
      7         his --                                       7
      8         A. Oh, sorry.                                8
      9         Q. That's okay. Sometimes you'll             9
     10   know exactly where I'm going.                     10
     11              Obviously you've worn a lot of         11
     12   different hats over the years, 40-year            12
     13   experience. You've been working -- or the head    13
     14   of information services. How long have you held   14
     15   that position?                                    15
     16              MR. CLARK: Objection to                16
     17         form.                                       17
     18         A. I've been doing it for the last 20       18
     19   at least.                                         19
     20         Q. Okay. And you made it sound like         20
     21   you wear a lot of hats even within that           21
     22   position. What types of things are you            22
     23   responsible for?                                  23
     24              MR. CLARK: Objection; form.            24


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     19                                                  19
     20   nervous. I found something I can answer.       20
     21        Q. Don't get excited. We're not           21
     22   going to stay here long.                       22
     23        A. This is the life I live, okay, so      23
     24   I work --                                      24


                                               Page 19
      1         Q. I feel like I'm in a Peanuts           1
      2   cartoon right now.                              2
      3         A. No. No. I didn't mean to bring         3
      4   it up if -- you know, unless you need me to.    4
      5         Q. No. It's fine. You're answering        5
      6   my question.                                    6
      7              Moving along, though, AS -- you      7
      8   said A52 web developer, what does that mean?    8
      9              MR. CLARK: Objection to              9
     10         form.                                    10
     11         A. I'm sorry. What's the question?       11
     12         Q. You said another function that you    12
     13   do -- I thought -- I wrote down A52 web        13
     14   development. Is that correct or no?            14
     15         A. That's -- I don't believe I said      15
     16   that.                                          16
     17         Q. Okay.                                 17
     18         A. Okay. So I said, I'm a web            18
     19   developer. I work on web applications that     19
     20   Prescription Supply may use with their         20
     21   operations.                                    21
     22         Q. Got it.                               22
     23                                                  23
     24                                                  24


                                                              6 (Pages 18 to 21)
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      1                                                     1   we're going to look at is PSI-1012. It's going
      2                                                     2   to be page 5.
      3                                                     3             And for the record purposes, this
      4                                                     4   is going to be PSI-66568.
      5                                                     5         A. Okay.
      6                                                     6             (Discussion held off the record.)
      7                                                     7                  ---
      8                                                     8       (PSI - K. Harbauer Exhibit 1 marked.)
      9                                                     9                  ---
     10                                                    10   BY MR. REINS:
     11                                                    11         Q. All right. So we're now looking
     12        Q. All right. We went through a             12   at correspondence here. Can you see it okay?
     13   number of your hats. Any that we haven't         13         A. Yes, I can.
     14   discussed yet?                                   14         Q. All right. And specifically this
     15        A. Well, that's the main ones.              15   is a letter on the letterhead of Prescription
     16        Q. All right. Obviously one of the          16   Supply, Inc. I'm going to say PSI for short.
     17   things we're going to talk about here today is   17   You're going to know what I mean, right?
     18   you were responsible for complying with the      18         A. Yes.
     19   federal regulations regarding suspicious order   19         Q. Yes, sir. And then we've got this
     20   monitoring.                                      20   is March 25th, 1996. And this is to Ms. Massey.
     21            MR. CLARK: Objection to                 21   Do you -- this is someone that you would have
     22        form.                                       22   coordinated with at the DEA; is that right?
     23        Q. Is that accurate?                        23         A. Correct. She was an agent at the
     24            MR. CLARK: Same objections.             24   Cleveland office.


                                                Page 23                                             Page 25
      1                                                     1         Q. Okay. So we'll kind of zero in on
      2                                                     2   that first paragraph. And of course you
      3                                                     3   authored this letter, correct?
      4                                                     4              MR. CLARK: Objection to
      5                                                     5         form.
      6                                                     6         A. Correct.
      7                                                     7
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      9                                                     9
     10                                                    10
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     21                                                    21
     22        Q. Okay. Probably a good time to go         22
     23   through the history of how you guys did things   23
     24   for various time periods. So the first thing     24


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      1                                       1         Q. Okay.
      2                                       2         A. I mean ...
      3                                       3         Q. Do you know what type of data
      4                                       4   specifically was being submitted, i.e. were
      5                                       5   there variances reported in the customer's
      6                                       6   ordering regarding frequency, amounts, things of
      7                                       7   that nature?
      8                                       8             MR. CLARK: Objection to
      9                                       9         form.
     10                                      10         Q. Let me rephrase. Do you know if
     11                                      11   any -- if it actually would identify suspicious
     12                                      12   orders, meaning orders of unusual size,
     13                                      13   deviating substantially from a normal pattern,
     14                                      14   or orders of unusual frequency, do you know if
     15                                      15   that was identified in those prior reports?
     16                                      16             MR. CLARK: Objection to
     17                                      17         form. I'm just going to note my
     18                                      18         objection on the record to the time
     19                                      19        period we're talking about here
     20                                      20         being outside the bounds of Special
     21                                      21         Master Cohen's rulings on what
     22                                      22         we're allowed to be asking about.
     23                                      23             MR. REINS: Okay.
     24                                      24         A. Okay. Can you restate the


                                                                                       Page 33
      1                                       1   question now so I get it right?
      2                                       2        Q. I just wanted to finish this line
      3                                       3   of inquiry as to what type of information would
      4                                       4   be inquired --
      5                                       5        A. Okay.
      6                                       6        Q. -- would be identified in the
      7                                       7   report.
      8                                       8            MR. CLARK: Same objection.
      9                                       9
     10                                      10
     11                                      11
     12                                      12
     13                                      13
     14                                      14
     15                                      15
     16                                      16
     17                                      17
     18                                      18
     19                                      19         Q. All right. So now getting back to
     20                                      20   this correspondence.
     21                                      21         A. Okay.
     22                                      22         Q. This will be Plaintiff's Exhibit
     23                                      23   Number 1. Next line says, "We have recently
     24                                      24   completed the necessary updates to transfer this


                                                              9 (Pages 30 to 33)
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      1   function to our computer system."              1
      2            Can you explain what was done?        2
      3            MR. CLARK: Objection to               3
      4        form.                                     4
      5                                                  5
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     23                                                 23      MR. CLARK: Objection to
     24                                                 24   form.


                                                                 10 (Pages 34 to 37)
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                                               Page 38                         Page 40
      1             Give me a second to object                1
      2         and then you can answer.                      2
      3             THE WITNESS: Sorry.                       3
      4             MR. CLARK: I know it's                    4
      5         tough. You're doing fine.                     5
      6             Objection to form.                        6
      7             Go ahead.                                 7
      8         A. I kind of forgot the question.             8
      9         Q. That's okay. So -- and that's              9
     10    probably something I should probably add to       10
     11    my -- so your counsel has the opportunity to      11
     12    object to the form of my question. It's a legal   12
     13    objection preserving it for a date and time to    13
     14    deal with the Judge later, potentially. It is     14
     15    not meant to distract you or inhibit the          15
     16    deposition process.                               16
     17         A. Am I allowed to answer if he              17
     18    objects then?                                     18
     19         Q. You are.                                  19
     20             MR. CLARK: Unless I tell                 20
     21         you -- instruct you not to answer.           21
     22         A. Okay.                                     22
     23         Q. Without question, you're allowed          23
     24    to answer unless you're told specifically not     24


                                               Page 39
      1   to.                                                 1
      2        A. Okay.                                       2
      3        Q. But because there are some -- a             3
      4   frequency to the objections, maybe just wait a      4
      5   moment, let him object, and then -- and then        5
      6   answer.                                             6
      7        A. Okay.                                       7
      8        Q. Make sense?                                 8
      9        A. Yes. Thank you.                             9
     10        Q. Okay. And let me rephrase the              10
     11   question.                                          11
     12             We're talking about this updating        12
     13   of the system around 1996. I say "update." It      13
     14   really is the development of the computerization   14
     15   of the -- all of the job functions, frankly, of    15
     16   PSI, right?                                        16
     17             MR. CLARK: Objection to                  17
     18        form.                                         18
     19        Q. Let me do this: I have you here,           19
     20   so you can say it better. Tell me exactly what     20
     21   was -- this computer systems that you were         21
     22   implementing, what was the goal and the purpose?   22
     23             MR. CLARK: Objection to                  23
     24        form.                                         24


                                                                  11 (Pages 38 to 41)
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                                                 Page 42                               Page 44
      1                                                        1   BY MR. REINS:
      2                                                        2
      3                                                        3
      4                                                        4
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      6             And I'm not sure if that's the             6
      7    question you asked exactly, but if you could go     7
      8    back on it, I'll try to fill you in the best I      8
      9    can.                                                9
     10         Q. No. That was great.                        10
     11         A. Okay.                                      11
     12         Q. What did the new system -- I guess         12
     13    the driving force, what was the driving force of   13
     14    wanting the new system?                            14
     15             MR. CLARK: Objection to                   15
     16         form.                                         16
     17         A. I think I pretty well answered             17
     18    that. Just to keep the system current and --       18
     19    and try to fill the needs that were put forth in   19
     20    front of us in Prescription Supply.                20
     21                                                       21
     22                                                       22
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      6          Q. Okay. Now, I guess this one                6
      7    line -- because I don't want to oversimplify.       7
      8          A. Right.                                     8
      9          Q. You're really the IT                       9
     10    informations --                                    10
     11          A. This is --                                11
     12               MR. CLARK: Hold on. Let                 12
     13          him --                                       13
     14               THE WITNESS: Oh, I'm sorry.             14
     15               MR. CLARK: I know it's a                15
     16          little bit unnatural, but let                16
     17          him --                                       17
     18               THE WITNESS: I know. I'm                18
     19          sorry.                                       19
     20               MR. CLARK: You're doing                 20
     21          fine.                                        21
     22               THE WITNESS: I'm doing the              22
     23          best I can. I am, honest.                    23
     24                                                       24


                                                                          12 (Pages 42 to 45)
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                                               Page 46                                             Page 48
      1         Q. Okay. That's fair. All right.            1   BY MR. REINS:
      2    If we can step out of there.                     2        Q. We're going to look for a moment
      3             MR. CLARK: Are you done with            3   now at -- there's what's called discovery
      4         that?                                       4   responses. That's where the company has
      5             MR. REINS: Yeah, I think so.            5   provided some discovery responses to questions
      6             MR. CLARK: Did you mark it?             6   that we had posed regarding these types of
      7             MR. REINS: I marked it as 1.            7   issues, reporting specifically.
      8             MR. CLARK: Okay.                        8        A. Okay.
      9             MR. REINS: So I need to --              9        Q. And this is going to be
     10         yeah. Can I grab that? Thanks.             10   Prescription Supply, Inc.'s Second Amended
     11                                                    11   Objections and Responses to Plaintiffs' First
     12                                                    12   Combined Discovery Request. If we can look at
     13                                                    13   page 2. And if we can look in the second
     14                                                    14   paragraph kind of midway through.
     15                                                    15
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      8        Q. So -- yeah. So my question was,           8
      9   was who within the company came up with the       9
     10   formula, which we will be talking about in a     10
     11   moment, which might be a better time. Maybe      11
     12   that will jog your memory. Let's do it now,      12
     13   actually.                                        13
     14             So we have been produced some          14
     15   information. And this is going to be PSI-1013.   15
     16             For record purposes, it's going to     16
     17   be produced as PSI-72519 through 72530.          17
     18             MR. CLARK: Lance, do you               18
     19        have a copy of that for me?                 19
     20             MR. REINS: I do, actually.             20
     21             MR. CLARK: Thank you.                  21
     22             MR. REINS: You're welcome.             22
     23             Actually, before we get to             23
     24        that, can you pull up PSI-1008.             24


                                                                         13 (Pages 46 to 49)
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                                                        16 (Pages 58 to 61)
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                                                                                    Page 69
      1                                       1        Q. Okay.
      2                                       2            MR. CLARK: Lance, we've been
      3                                       3        going for about an hour --
      4                                       4            MR. REINS: Take a break?
      5                                       5        Sure, yeah, of course.
      6                                       6            THE VIDEOGRAPHER: Going off
      7                                       7        the record at 9:59.
      8                                       8            (Recess taken.)
      9                                       9            THE VIDEOGRAPHER: We're back
     10                                      10        on the record at 10:09.
     11                                      11   BY MR. REINS:
     12                                      12        Q. All right, sir. Looking at the
     13                                      13   document that's in front of you, which we've
     14                                      14   already -- which we started talking about. I
     15                                      15   want you to kind of look through the whole
     16                                      16   document real quick.
     17                                      17            Have you had an opportunity on our
     18                                      18   break to do so?
     19                                      19        A. I looked through it. Scanned
     20                                      20   through it, yeah.
     21                                      21
     22                                      22
     23                                      23
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                                                          18 (Pages 66 to 69)
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      5                                                       5
      6    it has an example of the -- of a report on         6
      7    72534, which is 16, right?                         7
      8          A. It is an example of a report, yes.        8
      9          Q. Okay. And is this an example of           9
     10    the type of reporting you did after you changed   10
     11    the system in January of 1996? Is this how you    11
     12    reported?                                         12
     13              MR. CLARK: Objection to                 13
     14          form.                                       14
     15          Q. If you recall.                           15
     16          A. This is a report of just the             16
     17    ingredients that are in the file. This is a       17
     18    report out of -- if I believe so, this is the     18
     19    scheduled item ingredient report. This is not a   19
     20    sales recap report.                               20
     21          Q. Agreed. And, listen, I'm not             21
     22    hiding anything. In May of '97, after working     22
     23    with the DEA, you modified the system and it      23
     24    stayed that way for some time.                    24


                                                Page 71
      1        A. Yes.                                        1
      2        Q. But I'm just dealing with this              2
      3   period of time before May 1st. And so what I'm      3
      4   trying to ask you is, is this how you reported      4
      5   pursuant to the --                                  5
      6              MR. CLARK: Would the people              6
      7        on the phone please mute.                      7
      8              UNIDENTIFIED SPEAKER: I'm                8
      9        sorry.                                         9
     10              MR. CLARK: Want to restart?             10
     11              MR. REINS: Yeah, I think                11
     12        I'll --                                       12
     13        A. Yeah, rephrase that question.              13
     14              MR. REINS: That was my                  14
     15        co-counsel.                                   15
     16              MR. CLARK: She's helping                16
     17        you.                                          17
     18              MR. REINS: I need it.                   18
     19   BY MR. REINS:                                      19
     20                                                      20
     21                                                      21
     22                                                      22
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                                                                  19 (Pages 70 to 73)
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      1                                       1
      2                                       2
      3                                       3         Q. Okay. All right. Moving along.
      4                                       4         A. Oh, take that away. All right.
      5                                       5              MR. REINS: Thanks. We'll
      6                                       6         make that Number 2.
      7                                       7                  ---
      8                                       8       (PSI - K. Harbauer Exhibit 2 marked.)
      9                                       9                  ---
     10                                      10   BY MR. REINS:
     11                                      11         Q. All right. We're going to now
     12                                      12   look at PSI-1012, page 3. For record purposes,
     13                                      13   PSI-66566.
     14                                      14              Moving forward. So we've covered
     15                                      15   now the January. We've covered through 1996.
     16                                      16   Here we are in May of 1997. You're writing a
     17                                      17   letter to Janice -- Ms. Janice Margreta.
     18                                      18         A. Margreta.
     19                                      19
     20                                      20
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                                                           21 (Pages 78 to 81)
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      1                                       1
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      5                                       5         Q. Got it. Let's go ahead and talk
      6                                       6   about the report because that's probably --
      7                                       7   we'll just explain it through that process.
      8                                       8              This will be Plaintiff's Exhibit
      9                                       9   Number 3, this correspondence.
     10                                      10                  ---
     11                                      11       (PSI - K. Harbauer Exhibit 3 marked.)
     12                                      12                  ---
     13                                      13              MR. CLARK: Is it 4?
     14                                      14              MR. REINS: I think it's 3.
     15                                      15              MR. CLARK: It is 3? Okay.
     16                                      16              MR. REINS: We may not have
     17                                      17         marked 1 which caused confusion.
     18                                      18              (Discussion held off the record.)
     19                                      19   BY MR. REINS:
     20                                      20         Q. So now what I'm going to hand you
     21                                      21   is this is going to be, what I believe, this
     22                                      22   modified new reporting mechanism. And, listen,
     23                                      23   I'm not going to go through all of them. I
     24                                      24   grabbed a month. So we'll look and kind of


                                                                                      Page 85
      1                                       1   identify the varying information on that and how
      2                                       2   to hopefully interpret it.
      3                                       3
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     16                                      16
     17                                      17
     18                                      18
     19                                      19
     20                                      20         Q. And it may have sounded like a
     21                                      21   dumb question. Not broken down by region or
     22                                      22   state. It's all of your customers that
     23                                      23   purchased that product, that's how you derived
     24                                      24   the average?


                                                           25 (Pages 94 to 97)
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                                                Page 98                     Page 100
      1         A. Correct, correct.                       1
      2         Q. Including that customer,                2
      3    obviously?                                      3
      4         A. Yes.                                    4
      5         Q. Okay. All right. It makes this          5
      6    report if it is above the average; is that      6
      7    correct?                                        7
      8              MR. CLARK: Objection to               8
      9         form.                                      9
     10         A. Yes.                                   10
     11                                                   11
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                                                      27 (Pages 102 to 105)
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      6                                       6         A. There are no reports from the
      7                                       7   threshold system.
      8                                       8         Q. Okay.
      9                                       9         A. There are audits. I mean, there
     10                                      10   are log files that are generated but no reports.
     11                                      11         Q. Okay. Tell me about the threshold
     12                                      12   system.
     13                                      13             MR. CLARK: Objection to
     14                                      14         form.
     15                                      15         A. Can I rephrase something? I
     16                                      16   just -- can we go back to that question?
     17                                      17         Q. No way.
     18                                      18         A. Please.
     19                                      19         Q. No. It's too late.
     20                                      20         A. When I tell you there was no
     21                                      21   reports, we were constantly pawing through this
     22                                      22   data and reporting -- recapping and reporting.
     23                                      23   As far as going to the DEA, we may not have
     24                                      24   generated a monthly report as far as the


                                                       28 (Pages 106 to 109)
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                                              Page 110                                                Page 112
      1    threshold system, but we did -- you know, we        1
      2    kept -- continued on, and that's what that          2
      3    conversation was about, us ceasing the -- or the    3
      4    shipment of the suspicious order monitoring         4
      5    variance report.                                    5
      6          Q. All right. Let's just tie a bow            6
      7    on that. So I asked you to --                       7
      8          A. Okay. I'm sorry.                           8
      9          Q. No, no. Don't -- no, no. I'm               9
     10    not --                                             10
     11              MR. CLARK: He's asking a                 11
     12          question.                                    12
     13          Q. You didn't do anything wrong.             13
     14              I want you to clarify, to be             14
     15    clear. It's important we get it right.             15
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     14                                                       14         Q. Okay. What would trigger those
     15                                                       15   reports? Would it be a phone call from them?
     16                                                       16   Would it be some internal system that would say,
     17                                                       17   "We need to send this in"? What would trigger
     18                                                       18   the items that you just said were reported post
     19                                                       19   --
     20                                                       20         A. Probably --
     21                                                       21             MR. CLARK: Hold on. Let him
     22                                                       22         finish his question.
     23                                                       23             THE WITNESS: All right. I'm
     24                                                       24         sorry.


                                                                        29 (Pages 110 to 113)
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                                              Page 114                        Page 116
      1   BY MR. REINS:                                     1
      2        Q. Go ahead.                                 2
      3            MR. CLARK: Let me add my                 3
      4        objection. Objection to form.                4
      5            Now go.                                  5
      6        A. Can you start the question over           6
      7   and just --                                       7
      8        Q. Yeah. I was just trying to say,           8
      9   what would trigger that type of information       9
     10   from -- to be reported? Would it be a phone      10
     11   call? What would trigger these types of things   11
     12   being reported in 2013 forward?                  12
     13            MR. CLARK: Objection to                 13
     14        form.                                       14
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                                                                30 (Pages 114 to 117)
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      7                                       7        Q. Fair answer.
      8                                       8             Someone says, "Why did it take so
      9                                       9   long" --
     10                                      10             MR. CLARK: Objection to
     11                                      11        form.
     12                                      12        Q. -- what would you say to that?
     13                                      13             MR. CLARK: Objection to
     14                                      14        form.
     15                                      15        A. Why did what take so long?
     16                                      16        Q. Let me rephrase the question. Why
     17                                      17   was that implemented in 2008 and not before
     18                                      18   then, if you know?
     19                                      19             MR. CLARK: Object to form.
     20                                      20
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                                                      31 (Pages 118 to 121)
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      4                                       4         Q. I assume you have seen it on the
      5                                       5    news?
      6                                       6         A. Absolutely.
      7                                       7         Q. At least from your news viewing,
      8                                       8    you're aware that it affects communities
      9                                       9    throughout this country?
     10                                      10             MR. CLARK: Objection to
     11                                      11         form.
     12                                      12         A. Yes, yes.
     13                                      13         Q. All races, all genders?
     14                                      14             MR. CLARK: Same objection.
     15                                      15         Q. Correct?
     16                                      16         A. Yes.
     17                                      17         Q. All economic levels of this
     18                                      18    society, correct?
     19                                      19             MR. CLARK: Same objection.
     20                                      20         A. Yes.
     21                                      21         Q. All right. Are you doing okay?
     22                                      22         A. Yeah, I'm fine.
     23                                      23                  ---
     24                                      24       (PSI - K. Harbauer Exhibit 5 marked.)


                                                      32 (Pages 122 to 125)
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      1                   ---                                 1
      2          Q. All right. Moving along. I'm              2
      3    going to have you out of here by noon.             3
      4              All right. If we could look at --        4
      5    this is going to be PSI-653. All right, sir. I     5
      6    know from talking to you, you are not involved     6
      7    in the development and/or the implementation of    7
      8    policies and procedures, if I understood you       8
      9    correctly.                                         9
     10              MR. CLARK: Objection; form.             10
     11          Q. Correct?                                 11
     12          A. Correct.                                 12
     13          Q. All right. But have you -- have          13
     14    you read them?                                    14
     15              MR. CLARK: Same objection.              15
     16          A. Yes, I've been through them. Yes,        16
     17    I've read them before.                            17
     18          Q. Some questions may seem silly but        18
     19    I have to ask them.                               19
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     10                                      10      Q. Got it.
     11                                      11          MR. CLARK: Lance, I know
     12                                      12      you're close to the end. Can we
     13                                      13      get a five-minute restroom break.
     14                                      14          MR. REINS: Yeah, of course.
     15                                      15          THE VIDEOGRAPHER: We're
     16                                      16      going off the record at 11:18.
     17                                      17          (Recess taken.)
     18                                      18          THE VIDEOGRAPHER: We're back
     19                                      19      on the record at 11:27.
     20                                      20   BY MR. REINS:
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                                 Page 174                                            Page 176
      1                                       1
      2                                       2             MR. REINS: Thank you for
      3                                       3         your time. I don't have any more
      4                                       4         questions.
      5                                       5             THE WITNESS: Thank you, sir.
      6                                       6             MR. CLARK: I have no
      7                                       7         questions.
      8                                       8             THE VIDEOGRAPHER: We're
      9                                       9         going off the record at 12:00 p.m.
     10                                      10             (Recess taken.)
     11                                      11             MR. REINS: Just for
     12                                      12         clarification in the deposition,
     13                                      13         the summary chart that was
     14                                      14         referenced was identified as
     15                                      15         Exhibit Number 5. It's actually
     16                                      16         Exhibit Number 6 when we were
     17                                      17         talking about the log-in and
     18                                      18         similar type information.
     19                                      19             And Exhibit Number 7 is the
     20                                      20         Prescription Supply maximum monthly
     21                                      21         units form, which is Bates numbered
     22                                      22         274 through 297.
     23                                      23             (Signature not waived.)
     24                                      24                  ---

                                                                                     Page 177
      1                                       1        Thereupon, at 12:00 p.m., on Wednesday,
      2                                       2   February 27, 2018, the deposition was concluded.
      3                                       3                ---
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                                                      Page 178                                                  Page 180
      1           CERTIFICATE                                       1           DEPOSITION ERRATA SHEET
      2   STATE OF OHIO     :                                       2   I, KIRK HARBAUER, have read the transcript
                        SS:                                             of my deposition taken on the 27th day of February
      3   COUNTY OF ______________:                                 3   2019, or the same has been read to me. I request that
      4                                                                 the following changes be entered upon the record for
      5          I, KIRK HARBAUER, do hereby certify that I         4   the reasons so indicated. I have signed the signature
      6   have read the foregoing transcript of my                      page and authorize you to attach the same to the
      7   cross-examination given on February 27, 2018; that        5   original transcript.
      8   together with the correction page attached hereto         6   Page Line Correction or Change and Reason:
      9   noting changes in form or substance, if any, it is        7   ___ ____ ___________________________________________
     10   true and correct.                                         8   ___ ____ ___________________________________________
     11                   _____________________________             9   ___ ____ ___________________________________________
                          KIRK HARBAUER                            10   ___ ____ ___________________________________________
     12                                                            11   ___ ____ ___________________________________________
     13          I do hereby certify that the foregoing            12   ___ ____ ___________________________________________
     14   transcript of the cross-examination of KIRK HARBAUER     13   ___ ____ ___________________________________________
     15   was submitted to the witness for reading and signing;    14   ___ ____ ___________________________________________
     16   that after he had stated to the undersigned Notary       15   ___ ____ ___________________________________________
     17   Public that he had read and examined his cross-          16   ___ ____ ___________________________________________
     18   examination, he signed the same in my presence on the    17   ___ ____ ___________________________________________
     19   _______ day of _________________________, 2019.          18   ___ ____ ___________________________________________
     20                                                            19   ___ ____ ___________________________________________
                          _____________________________            20   ___ ____ ___________________________________________
     21                   NOTARY PUBLIC - STATE OF OHIO            21   ___ ____ ___________________________________________
     22                                                            22   ___ ____ ___________________________________________
     23   My Commission Expires:                                   23   ___ ____ ___________________________________________
     24   _________________, ______.                               24   Date ______________ Signature ________________________


                                                      Page 179
      1                CERTIFICATE
      2   STATE OF OHIO           :
                              SS:
      3   COUNTY OF FRANKLIN :
      4          I, Carol A. Kirk, a Registered Merit
          Reporter and Notary Public in and for the State of
      5   Ohio, duly commissioned and qualified, do hereby
          certify that the within-named KIRK HARBAUER was by me
      6   first duly sworn to testify to the truth, the whole
          truth, and nothing but the truth in the cause
      7   aforesaid; that the deposition then given by him was
          by me reduced to stenotype in the presence of said
      8   witness; that the foregoing is a true and correct
          transcript of the deposition so given by him; that the
      9   deposition was taken at the time and place in the
          caption specified and was completed without
     10   adjournment; and that I am in no way related to or
          employed by any attorney or party hereto or
     11   financially interested in the action; and I am not,
          nor is the court reporting firm with which I am
     12   affiliated, under a contract as defined in Civil Rule
          28(D).
     13
                IN WITNESS WHEREOF, I have hereunto set my
     14   hand and affixed my seal of office at Columbus, Ohio
          on this 4th day of March 2019.
     15
     16
     17
     18               _____________________________
                      CAROL A. KIRK, RMR
     19               NOTARY PUBLIC - STATE OF OHIO
     20   My Commission Expires: April 9, 2022.
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     24


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